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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                               DAVENPORT DIVISION

 EMILY COHEN,                     )                Case No. 3:23-cv-00073-SMR-WPK
                                  )
             Plaintiff,           )
                                  )
      v.                          )
                                  )
 IOWA CITY, IOWA, JOHNSON COUNTY )
 SHERIFF’S DEPARTMENT, JOHNSON    )
 COUNTY, IOWA, IAN ALKE, MICHAEL )
 HYNES, JOHN GOOD, DEMETRIUS      )
 MARLOWE, JANET LYNESS, RACHEL    )
 ZIMMERMAN SMITH, SUSI NEHRING,   )                ORDER ON MOTIONS TO DISMISS
 DAVID VAN COMPERNOLLE, DOES,     )
 BOULDER, COLORADO, BOULDER       )
 COUNTY SHERIFF’S OFFICE, BOULDER )
 COUNTY, COLORADO, ANDREW         )
 HARTMAN, ANNE KELLY, MICHAEL     )
 DOUGHERTY, MICHELLE SUDANO,      )
 ADAM KENDALL, KRISTINE           )
 WEISBACH, CHRIS MERKLE,          )
 ELIZABETH ROTHROCK, THOMAS       )
 MULVAHILL, NANCY SALAMONE,       )
 STEVEN HOWARD, DINSMORE          )
 TUTTLE, GREGORY LYMAN, LINDY     )
 FROLICH, DARREN CANTOR, MARY     )
 CLAIRE MULLIGAN, WILL MULLIGAN, )
 ROBERT WERKING, KATHLEENN        )
 SINNOT, STANLEY GARNETT, ALEC    )
 GARNETT, JANE WALSH, and KATI    )
 ROTHGERY,                        )
                                  )
             Defendants.          )


       Plaintiff Emily Cohen filed this pro se complaint against thirty-nine Defendants, mostly

municipalities and government employees, located in Iowa and Colorado. She brings claims

pursuant to 28 U.S.C. § 1983 alleging constitutional violations against Defendants arising from

her arrest on November 2, 2021. Cohen was arrested and incarcerated in Iowa City pursuant to a



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bench warrant issued by a Colorado state court due to her failure to appear in person at a criminal

proceeding in the Colorado state court.

       The lengthy complaint contains 204 paragraphs of factual allegations.            Numerous

Defendants have moved to dismiss. [ECF Nos. 27, 30, 45, 47, 49, 50]. Defendants Michael

Dougherty, Adam Kendall, Darren Cantor, Lindy Frolich, Judge Stephen Howard, the City of

Boulder all move to dismiss for failure to state a claim, arguing that the Court lacks personal

jurisdiction over them as residents of Colorado. [ECF Nos. 27, 30, 45]. Defendants Johnson

County Sheriff’s Department, Johnson County, Iowa, Michael Hynes, John Good, Demetrius

Marlowe, Janet Lyness, Rachel Zimmermann Smith, Susie Nehring, and David Van Compernolle

filed a joint motion to dismiss. [ECF No. 48]. Cohen has failed to resist all the motions to date.

       Upon review of the briefs in support of the motions, the Court concludes that they should

be GRANTED for the reasons stated therein. Defendants’ Motions to Dismiss are GRANTED.

[ECF Nos. 27, 30, 45, 47, 49, 50]. Cohen’s Motion for Declaratory Relief is DENIED. [ECF

No. 56]. Although none of the remaining 22 Defendants have entered an appearance in this case,

the docket does not reflect that Cohen has served them with process. Accordingly, this case is

DISMISSED.

       IT IS SO ORDERED.

       Dated this 21st day of August, 2024.

                                                      _________________________________
                                                      STEPHANIE M. ROSE, CHIEF JUDGE
                                                      UNITED STATES DISTRICT COURT




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